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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

THELMA LANE,

_.L.L_*‘ " ;5_ "-T 'r\
`_" §}

---- J§:.. `

Plaintiff, ‘WD @FFN, ivmmHm;

v. NO. 04-2756-M1/P

ROBERT HALF INTERNATIONAL, INC.'
d/b/a OFFICE TEAM,

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Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION FOR SUMMARY JUDGMENT

 

Before the Court is Defendant’s Motion for Summary Judgment,
filed October 28, 2004.1 Plaintiff responded in opposition on
December 17, 2004. Defendant filed a reply to Plaintiff's
opposition on December 28, 2004. For the following reasons, the
Court GRANTS Defendant's motion.

I. Background

The instant case arises from Plaintiff's allegations that
she suffered unlawful race discrimination and retaliation in
violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C.
§ 2000e et seq., and the Tennessee Human Rights Act (“THRA”),

Tenn. Code Ann. § 4-21-101 et seq. Plaintiff was formerly

 

l On March 22, 2005, the Court issued an Order Directing
Parties to Present Supplemental Materials Pursuant to Federal
Rule of Civil Procedure 12(b). In that order, the Court
determined that, pursuant to Rule lZ(b), it would treat
Defendant's Motion to Dismiss as one for summary judgment and

dispose of the motion as provided by Rule 56. (Order Directing
Parties to Present Supp. Mat.'s Pursuant to Fed. R. Civ. P.
lZ(b), Mar. 22, 2005, (Docket No. 22) at 2.) `;léé

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employed by Defendant, Robert Half International, Inc., d/b/a

Office Team.

In December of 2000, Plaintiff filed a charge of
discrimination with the Equal Employment Opportunity Commission
(“EEOC”).2 Plaintiff resigned from her employment with Defendant
on August 6, 2001. On September 9, 2002, the EEOC issued to
Plaintiff a Notice of Right to Sue letter. The notice informed
Plaintiff that any lawsuit regarding her claims of discrimination
must be filed within ninety days from the date she received the
notice. (Pl.'s Compl., Ex. B.) Plaintiff filed her original
Complaint on October 15, 2002, which was within the applicable
ninety-day time period.3

On June 20, 2003, Defendant filed a motion for sanctions in
the form of dismissal. On August 4, 2003, the Court entered an
Order to Show Cause requiring Plaintiff to file a written
response to Defendant's motion on or before August 15, 2003.
Plaintiff did not respond to the Order to Show Cause. Pursuant
to Federal Rule of Civil Procedure 4l(b) and the Court's inherent
power, Plaintiff's Complaint was accordingly dismissed without

prejudice on September 23, 2003. Plaintiff then commenced the

 

2 From a review of Plaintiff's EEOC charge, it is unclear on
which specific date in December Plaintiff filed her charge with
the EEOC. (Mem. in Supp. of Def.'s Mot. to Dismiss, Ex. A.)

3 This case was docketed as Lane v. Robert Half Int’l.,
Inc., Case No. 02-2778 D, United States District Court, Western
District of Tennessee.

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instant lawsuit by re-filing her original Complaint on September
23, 2004.

II. Standard of Review

Under Federal Rule of Civil Procedure 56(c), summary
judgment is proper "if . . . there is no genuine issue as to any
material fact and . . . the moving party is entitled to judgment
as a matter of law." Fed. R. Civ. P. 56(c); see al§Q Celotex

Corp. v. Catrett, 477 U.S. 3l7, 322 (1986). The Supreme Court
has explained that the standard for determining whether summary
judgment is appropriate is “whether the evidence presents a
sufficient disagreement to require submission to a jury or
whether it is so one~sided that one party must prevail as a
matter of law." Anderson v. Liberty Lobbyc Inc., 477 U.S. 242,
251~52 (1989).

So long as the movant has met its initial burden of
"demonstrat[ing] the absence of a genuine issue of material
fact," Celotex, 477 U.S. at 323, and the nonmoving party is

unable to make such a showing, summary judgment is appropriate.

Emmons v. McLaughlin, 874 F.Zd 351, 353 (6th Cir. 1989). In
considering a motion for summary judgment, "the evidence as well

as all inferences drawn therefrom must be read in a light most
favorable to the party opposing the motion " Kochins v.
Linden-Alimak, Inc., 799 F.Zd 1128, 1133 (6th Cir. 1986); see
also Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

574, 587 (1986).

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III. Analysis

Plaintiff’s September 23, 2004, Complaint alleged that she
suffered unlawful race discrimination and retaliation under Title
VII and the THRA. Defendant moves for summary judgment as to
these claims on the grounds that they are time-barred.

A. Title VII

Generally, a lawsuit alleging claims under Title VII must be
brought within ninety days of receiving a notice of right to sue
letter from the EEOC. 42 U.S.C. § ZOOOG-B(f)(l); §§§ Seay v.
Tennessee Vallev Auth., 339 F.3d 454, 469 (6th Cir. 2003).4
However, “the filing of a complaint which is later dismissed
without prejudice does not toll the statutory filing period of
Title VII.” Wilson v. Grumman Ohio Corp., 815 F.2d 26, 28 (6th
Cir. 1987).5 Moreover, “state law tolling or savings provisions

do not apply to the limitations periods expressly set forth in

 

4 The statutory filing requirement, however, is not
jurisdictional, and a Court may apply the doctrine of equitable
tolling, “which permits a plaintiff to avoid the bar of the
statute of limitations if despite all due diligence [s]he is
unable to obtain vital information bearing on the existence of
[her] claim.” Seay, 339 F.3d at 469 (internal quotation marks
omitted). In the instant case, the Court finds that the facts do
not warrant the application of equitable tolling.

5 In Wilson, a complaint that had been filed within the
ninety-day Title VII statutory filing period was later dismissed
without prejudice because Plaintiff did not properly perfect
service on the Defendant. Wilson, 815 F.2d at 27. Plaintiff
then re-filed an identical complaint over fifteen months after
receiving her right to sue letter from the EEOC. ld; Noting
that a “dismissal without prejudice leaves the situation the same
as if the suit had never been brought" and does not toll Title
VII’s statutory filing period, the Sixth Circuit affirmed the
District Court's dismissal of Plaintiff's Title VII complaint
because it was untimely. ld& at 27-29.

4

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Title VII.” Wade v. Knoxville Util. Bd., 259 F.3d 452, 461 (6th

Cir. 2001).

In the instant case, the EEOC issued to Plaintiff a notice
of right to sue letter on September 9, 2002, and Plaintiff timely
filed her original Complaint on October 15, 2002. That Complaint
was subsequently dismissed without prejudice on September 23,
2003. Plaintiff re-filed her Complaint on September 23, 2004,
well after the expiration of the ninety-day statutory filing
period. The Court therefore finds that Plaintiff's present
Complaint is untimely and accordingly GRANTS Defendant’s motion
for summary judgment as to Plaintiff's Title VII claims.

B. Tennessee Human Rights Act

Under the THRA, a claim shall be filed “within one (1) year
after the alleged discriminatory practice ceases.” Tenn. Code
Ann. § 4-21-311(d). Plaintiff resigned from employment with
Defendant on August 6, 2001, and filed her original Complaint
more than one year later on October 15, 2002. Plaintiff
contends, however, that she timely filed her THRA claims because
she filed the present action within one year of the September 23,
2003, dismissal of her original Complaint.

The Tennessee Court of Appeals recently decided that Tenn.

Code Ann. § 28-1-105, the Tennessee savings statute,6 applies to

 

6 The savings statute, provides, in pertinent part, that:

If the action is commenced within the time limited by a

rule or statute of limitation, but the judgment or

decree is rendered against the plaintiff upon any
(continued...)

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claims brought under the THRA against private employers. Parnell

v. APCOM InC., NO. MZOOB-OOlTB-COA-R3-CV, 2004 WL 2964723 at *6

 

(Tenn. Ct. App. Dec. 21, 2004). Nonetheless, in order to take
advantage of the savings statute, Plaintiff must have filed her
original claim within the one year statute of limitations. Tenn.
Code Ann. § 28-1-105(a); Gregorv v. McCullev, 912 S.W.2d 175, 177
(Tenn. Ct. App. 1995). Because Plaintiff did not file her
original Complaint within the one year statute of limitations,
the savings statute has no application in the present case.
Accordingly, the Court finds that Plaintiff's THRA claims
against Defendant are time-barred and GRANTS Defendant’s motion

for summary judgment as to Plaintiff’s THRA claims.

 

(...continued)
ground not concluding the plaintiff's right of action,
or where the judgment or decree is rendered in favor of
the plaintiff, and is arrested, or reversed on appeal,
the plaintiff, or the plaintiff's representatives and
privies, as the case may be, may, from time to time,
commence a new action within one (1) year after the
reversal or arrest.

Tenn. COde Ann. § 28-1-105(&).

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IV. Conclusion

For the foregoing reasons, the Court GRANTS Defendant's

Motion for Summary Judgment as to all of Plaintiff’s claims.

So ORDERED this A/,(D day of April 2005.

M?l€

P. MCCALLA
TED STATES DISTRICT JUDGE

 

 

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